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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. 13-cv-02469-RM-MJW

 RANDALL J. HATLEE and
 RONALD L. SWIFT,

 Plaintiffs,

 v.

 CINDY HARDEY,
 BOBBI PRIESTLY,
 MONTE GORE,
 FRED WEGNER, and
 ASHLEIGH OLDS DIEDRICH,

 Defendants.

               ORDER SETTING SCHEDULING/PLANNING CONFERENCE

 Entered by U.S. Magistrate Judge Michael J. Watanabe

       The above-captioned case has been referred to Magistrate Judge Michael J.
 Watanabe pursuant to the Order Referring Case, entered by Judge Raymond P. Moore
 on September 11, 2013.

       IT IS HEREBY ORDERED that a Scheduling/Planning Conference pursuant to
 Fed.R.Civ.P.16(b) shall be held on:


                            November 4, 2013, at 10:00 a.m.
                                  in Courtroom A-502,
                                       Fifth Floor,
                            Alfred A. Arraj U.S. Courthouse,
                                     901 19th Street,
                                 Denver, Colorado 80294


        If this date is not convenient for any counsel/pro se party, he/she should confer
 with opposing counsel/pro se party and file a motion to reschedule the conference to a
 more convenient date.

      Absent exceptional circumstances, no request for rescheduling any
 appearance in this court will be entertained unless a motion is filed no less than
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 FIVE (5) business days in advance of the date of appearance.

      THE PLAINTIFF SHALL NOTIFY ALL PARTIES WHO HAVE NOT ENTERED
 AN APPEARANCE OF THE DATE AND TIME OF THE SCHEDULING/PLANNING
 CONFERENCE.

        IT IS FURTHER ORDERED that counsel/pro se parties in this case shall hold a
 pre-scheduling conference meeting and prepare a proposed Scheduling Order in
 accordance with Fed. R. Civ. P.26(f), as amended, and D.C.COLO.LCivR 26.1 on or
 before 21 days prior to scheduling conference. Pursuant to Fed.R.Civ.P.26(d), as
 amended, no discovery shall be sought until after the pre-scheduling conference
 meeting. No later than 5 days prior to the Scheduling/Planning Conference, counsel/pro
 se parties shall file their proposed Scheduling Order (in PDF) in compliance with the
 ECF Filing Procedures. In addition, on or before 14 days after the pre-scheduling
 conference meeting, the parties shall comply with the mandatory disclosure
 requirements of Fed. R. Civ. P.26(a)(1), as amended.

        Counsel/pro se parties shall prepare the proposed Scheduling Order in
 accordance with the form which may be downloaded in richtext format from the forms
 section of the Court’s website at www.cod.uscourts.gov. Instructions for downloading
 the formats are posted in the forms section of the website. Parties who are pro se or
 do not have access to the internet may visit the Clerk’s Office in Alfred A. Arraj U.S.
 Courthouse, 901 19th Street, Room A-105, Denver, Colorado. (The Clerk’s Office
 telephone number is (303) 844-3433.) Scheduling Orders prepared by parties not
 represented by counsel, or without access to ECF, shall be submitted on paper.

      All out-of-state counsel shall comply with D.C.COLO.LCivR 83.3 prior to the
 Scheduling/Planning Conference.

         It is the responsibility of counsel to notice the court of their entry of appearance,
 notice of withdrawal, notice of substitution of counsel, or notice of change of counsel’s
 address, e-mail address, or telephone number by complying with the ECF Procedures
 and filing the appropriate motion or document with the court.

        Please remember that everyone seeking entry into the Alfred A. Arraj United
 States Courthouse will be required to show valid photo identification. See
 D.C.COLO.LCivR 83.2B. Failure to comply with this requirement will result in denial of
 entry into the Alfred A. Arraj United States Courthouse.

               DONE AND SIGNED THIS 11th DAY OF SEPTEMBER, 2013.

                                            BY THE COURT:

                                            s/Michael J. Watanabe
                                            _____________________________
                                            MICHAEL J. WATANABE
                                            United States Magistrate Judge
